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                      IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF ALASKA


KAREN BARSANTI                    )
                                  )
                 Plaintiff,       )
                                  )
      vs.                         )
                                  )
ALLSTATE INSURANCE COMPANY, )
                                  )
                 Defendant.       )             Case No. 3:12-cv-00074-SLG
__________________________________)

                      PROPOSED CONFIDENTIALITY ORDER

              Documents produced by Allstate Insurance Company containing trade secret,

managerial, and any and all other proprietary or confidential information (hereinafter

referred to as “Confidential Information”), and all information contained in such

documents, shall not be used, shown, disseminated, copied (including xerox copying of any



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specific portions of any such document), or in any way communicated to anyone for any

purpose whatsoever, other than as required for the preparation and trial of this action.

Except as provided below, Confidential Information shall be kept confidential from all

persons and may not be used by plaintiff’s counsel in any other action involving Allstate;

                1.    Any document Allstate produces and which Allstate believes or

maintains contains or reveals Confidential Information shall be copied with a protective

watermark stating that the document is confidential, and produced pursuant to a

confidentiality order in Karen Barsanti v. Allstate Insurance Company, 3:12-cv-00074-SLG

                2.    The Confidential Information shall not be shown to anyone without

the written consent of Allstate, or upon further order of this court, with the following

exceptions:

                      (a)       The parties in this action and their counsel of record in this

                      action;

                      (b)       Employees of counsel of record assigned to and necessary to

                      assist counsel in the preparation of trial in this action;

                      (c)       Independent experts and consultants retained by counsel in this

                      action retained to consult with said counsel and/or to testify at trial,

                      provided that no such disclosure shall be made to any person employed

                      by any competitor of Allstate, except upon further order of this court;

                      (d)       Witnesses who are deposed in this action, subject to the

                      provisions of paragraph 5, below.



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                3.    Before being given access to any Confidential Information, any person

described in Section 3 above, to whom plaintiff intends to show, deliver, or disseminate

information from Confidential Information, shall be advised of the terms of this stipulation,

shall be given a copy of this confidentiality order, and shall agree to be bound by its terms;

                4.    To the extent that any Confidential Information contained therein is

used in connection with any depositions in this action, the Confidential Information shall

remain subject to the provisions of this confidentiality order, along with the related

transcript pages pertaining to the Confidential Information. At the time any Confidential

Information is used in any deposition, the court reporter will be informed of this

confidentiality order, and will be required to proceed in a manner consistent with the terms

of the confidentiality order. The reporter shall separately label the confidential portions of

the deposition transcript. Portions of depositions taken in Hensel v. Allstate, 3AN-02-

7154CI, previously designated as confidential may be used in this action and shall also be

subject to the terms of this order;

                5.    In the event plaintiff disagrees at any time with a designation by

Allstate, the parties shall make a good-faith attempt to resolve the dispute on an informal

basis. If the parties cannot resolve the dispute, the party desiring to have the document or

documents in question excluded from the terms of this confidentiality order may seek

appropriate relief from the court and, in connection with any such proceeding, the burden of

establishing confidentiality shall be on the party which designated the documents or

information as confidential.



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                6.     In the event a party wishes to use any Confidential Information in any

pleading or other paper filed with the court, such paper shall be enclosed in a sealed

envelope unless otherwise ordered by the court. The sealed envelope shall:

                       (a)    Show the caption of this action;

                       (b)    Identify its contents;

                       (c)    Include the following legend: “CONFIDENTIAL

                       INFORMATION; FILED PURSUANT TO CONFIDENTIALITY

                       ORDER.”

                7.     Unless otherwise ordered by the court, the court clerk shall be directed

by counsel for the party submitting pleadings or other papers to maintain under seal any

pleading or other paper filed with the court that has been designated, in whole or in part, as

containing or revealing Confidential Information. Such direction shall be attached to the

sealed envelope and shall state:

                This envelope is not to be opened nor the contents to be
                revealed except to the court and to counsel in these
                proceedings, or by order of the court.

                8.     Promptly upon the conclusion of this action, all Confidential

Information, including all production and work copies (but not including copies which were

attached as exhibits to pleadings filed with the court in the civil action), shall be returned to

counsel for Allstate. Plaintiff, his counsel, expert(s), and any and all other persons retained

by plaintiff who have access to any of the information contained in this Confidential

Information shall not under any circumstances sell, offer for sale, advertise or publicize the

contents of the Confidential Information or the fact that plaintiff has obtained the

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Confidential Information. After the termination of this litigation, the provisions of this

stipulation shall continue to be binding, except with respect to those portions of the

protected documents or information therein that have become a matter of public record.

                   9.     This order applies only to the discovery process and does not govern

the use at trial of exhibits and testimony designated as “confidential.” The use or handling at

trial of documents and testimony designated “confidential” will be governed by the court’s

orders before or during trial.

                   10.    This order shall be binding upon the parties, counsel, experts,

consultants, employees, agents, legal representatives, and any other people or organizations

over which they have control.

                   DATED at Anchorage, Alaska this _____ day of ____________, 2012.


                                               ______________________________________
                                               The Honorable Sharon L. Gleason
                                               United States District Court Judge


I certify that on July 23, 2012,
a copy of the foregoing document
was served electronically on:

Jeffrey J. Barber, Esq.
Gary A. Zipkin, Esq.

By        s/Neil T. O’Donnell




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